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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


  AMAZON.COM, INC. and AMAZON
  DATA SERVICES, INC.,

                 Plaintiffs,

         v.
                                                                CASE NO. 1:20-CV-484
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; JOHN DOES 1-20,

                 Defendants.


                 RESPONSE TO PLAINTIFFS’ MOTION FOR RULE 37 AND
                           CIVIL CONTEMPT SANCTIONS

         Defendants WDC Holdings LLC dba Northstar Commercial Partners (“Northstar”) and

  Brian Watson (“Mr. Watson”) (collectively, “Defendants”), by and through their undersigned

  counsel, hereby file their response to Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc.’s

  (collectively, “Plaintiffs”) Motion for Rule 37 and Civil Contempt Sanctions (“Motion”) and state

  as follows.

                                         INTRODUCTION

         To date, Defendants have produced to Plaintiffs 179,417 documents totaling 915,763 pages

  in response to their Requests for Discovery and in compliance with this Court’s July 22, 2020 and

  November 13, 2020 orders permitting “discovery for the narrow purpose of looking at where . . .



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  Defendants . . . couldn’t comply with the preliminary injunction.” Dkt. 286-1 at 11:25–12:2. The

  preliminary injunction has been fully briefed, decided by this Court, and is currently on appeal. At

  this point, given the narrow purpose of the discovery, there is no reasonable argument Plaintiffs can

  make which would support their claims of prejudice by Defendants’ discovery responses.

          In dereliction of the Court’s intentionally narrow purpose for permitting this preliminary

  discovery, Plaintiffs have taken advantage of the Court’s orders, using this “narrow” discovery as a

  club to demand essentially every piece of paper Northstar possesses not just now, but on an ongoing

  basis. Despite the overbreadth of Plaintiffs’ current discovery efforts, pursuant to Defendants’

  obligations under Federal Rule of Civil Procedure 26(e)(1), they have thoroughly responded to each

  request, and have supplemented their discovery responses when new information became available

  or Plaintiffs raised an issue. Defendants have turned over bank records, emails, documents related

  to Northstar assets and investors, and everything related to the Amazon projects that are the subject

  of Plaintiffs’ Second Amended Complaint, but it still is not enough for Plaintiffs.

          This, of course, is all prior to the case even being at issue. Plaintiffs filed their Complaint

  against Defendants on April 27, 2020. Although several defendants have failed to file an answer,

  Plaintiffs have inexplicably failed to file for default against these defendants and failed to push this

  case forward. Indeed, rather than litigate the case and proceed on the merits, Plaintiffs have chosen

  to litigate by attrition, focusing their attention on Defendants’ responses to early discovery that

  purportedly is not addressed to the actual merits of Plaintiffs’ claims.

          After receiving nearly one million pages of documents from Defendants, at Plaintiffs’ own

  insistence, Plaintiffs still are not satisfied. Plaintiffs may not like the information they have received,

  but Defendants have exhausted all known repositories of documents which might contain documents

  responsive to Plaintiffs’ requests, worked with third-party vendors to retrieve archived information,



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  spent hundreds of hours reviewing thousands of documents, and produced over 100,000 documents

  with no review at all, all in an effort to provide Plaintiffs with documents in a timely and efficient

  manner. Defendants have fully complied with this Court’s orders and their obligations under the

  Federal Rules of Civil Procedure.

         Plaintiffs now seek extraordinary relief from this Court, including preclusion of certain

  evidence, abolishing Defendants’ attorney client and work product privileges, and appointing a

  Defendant-funded special master to “oversee [Defendants’] compliance,” but have failed to show

  that they have been harmed as required for civil contempt. Considering the posture of the case, it is

  impossible for Plaintiffs to have been prejudiced by Defendants’ supplemental productions.

  Defendants have complied with this Court’s orders, adhered to their obligation to supplement their

  responses as additional information becomes known, and been receptive to all of Plaintiffs’ concerns

  regarding Defendants’ discovery responses. This is all before the issues have been joined and all

  parties have appeared in the case. The Court should deny Plaintiffs’ Motion.

                                    RELEVANT BACKGROUND

         Plaintiffs filed their Complaint against Defendants, amongst others, on April 27, 2020. On

  July 31, 2020, Plaintiffs filed an Amended Complaint, and on September 18, 2020, Defendants filed

  their Second Amended Complaint. Because NOVA WPC LLC, White Peaks Capital LLC, Villanova

  Trust, AllCore Development LLC, and Finbrit Holdings LLC have not responded to the pleadings,

  the case is not yet at issue. Plaintiffs have served no Initial Disclosures nor have Defendants had an

  opportunity to conduct any discovery of their own with regard to the merits of Plaintiff’s claims

  against them. The preliminary injunction is in place and currently on appeal.

         Below is a brief timeline of the discovery giving rise to this Motion:




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          1. Plaintiffs served their requests for discovery on Defendants on July 21, 2020. See S.

             Garnett Decl. ¶ 3.

          2. Pursuant to this Court’s Order dated July 22, 2020, Defendants served their responses

             in August 2020. Id. ¶ 4.

          3. The parties conferred concerning Defendants’ responses, and Defendants produced

             additional documents. Id. ¶ 19.

          4. Plaintiffs filed a Motion to Compel Production of Documents and Interrogatory

             Responses on October 20, 2020.

          5. The Court held a hearing on November 13, 2020, and ordered Defendants to

             complete their responses to Plaintiffs’ First Requests for Production, overruling

             certain of Defendants’ objections.

          6. Following the hearing, Defendants contacted the third-party vendor responsible for

             archiving Northstar’s email and document management systems to pull any

             additional potentially responsive documents. Defendants could not access these

             documents without the vendor’s cooperation. Id. ¶¶ 5–6.

          7. Defendants served additional documents and interrogatory responses on Plaintiffs on

             or around November 24, 2020 and November 25, 2020, respectively. This included

             113,547 documents totaling over 454,900 pages. Id. ¶ 7.

          8. On or around November 24, 2020, Defendants received over 70,000 potentially

             responsive documents from the third-party vendor and immediately began reviewing

             and preparing the documents for production. Id. ¶ 8.




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          9. On or around December 10, 2020, pursuant to their obligations under the Federal

             Rules of Civil Procedure to supplement discovery responses, Defendants sent

             Plaintiffs an additional 46,871 documents comprising of over 292,500 pages. Id. ¶ 9.

          10. In response to Plaintiffs’ concerns, on or around December 17, 2020, Defendants sent

             Plaintiffs 29,203 more documents, including those regarding the recent disposition

             of various Northstar/WDC assets such as settlement statements identifying the

             allocation of proceeds. Id. ¶ 10.

          11. Defendants supplemented their responses on or around December 24, 2020 and

             December 30, 2020, producing an additional 1,071 and 699 documents, respectively.

             Id. ¶ 11.

          12. Defendants produced a privilege log to Plaintiffs on or around December 31, 2020.

             Id. ¶ 12.

          13. On or around January 8, 2021, after learning additional information, Defendants

             served a supplemental response to Plaintiffs’ Interrogatory No. 2, identifying the

             disposition of several Northstar assets unaffiliated with the Amazon transactions.

             These assets were sold in the normal course of Northstar’s business. Id. ¶ 13.

          14. In late February 2021, the FBI returned to counsel for Defendants a cell phone and

             two laptops previously seized from Mr. Watson in April 2020. Upon receipt, counsel

             for Defendants immediately sent the items to a third party for forensic imaging and

             extracting. Id. ¶ 14.

          15. Upon realizing the items were encrypted by passwords that Mr. Watson could not

             remember as they were seized almost a year prior, Defendants reached out to the U.S.

             Attorney to retrieve the passwords Mr. Watson had provided the FBI at the time of



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                 the seizure. Id. ¶ 15. All three items were forensically imaged and data was extracted.

                 Id. ¶ 17.

             16. On or around May 6, 2021, Defendants produced to Plaintiffs responsive data from

                 Mr. Watson’s laptops and phone. Id. ¶ 18.

         Defendants will continue to supplement their productions as additional information becomes

  known in accordance with their obligations under the Federal Rules of Civil Procedure.

                                        LEGAL STANDARD

         Civil contempt is a “severe remedy” and “principles of basic fairness requir[e] that those

  enjoined receive explicit notice of what conduct is outlawed before being held in civil contempt.”

  Taggart v. Lorenzen, 139 S. Ct. 1795, 1802 (2019) (internal citations omitted). Civil contempt is

  “improper [where] a party’s attempt at compliance [is] reasonable.” Id.; accord Chesapeake Bank v.

  Berger, 2014 WL 5500872, at *3 (E.D. Va. Oct. 30, 2014) (“A good faith attempt to comply, even

  if such attempt proves ineffective, is a defense to a civil contempt order.”). Indeed, “civil contempt

  should not be resorted to where there is [a] fair ground of doubt as to the wrongfulness of the

  defendant’s conduct.” Id. “Civil contempt is conditional or contingent in nature, terminable if the

  contemnor purges himself of the contempt.” Carbon Fuel Co. v. United Mine Workers of Am., 517

  F.2d 1348, 1349 (4th Cir. 1975).

         To establish civil contempt, a party must show each of the following elements by clear and

  convincing evidence:

         (1) the existence of a valid decree of which the contemnor had actual or constructive
         knowledge; (2) that the decree was in movant’s ‘favor;’ (3) that the alleged
         contemnor by its conduct violated the terms of the decree, and had knowledge (at
         least constructive) of such violations; and (4) that [the] movant suffered harm as a
         result.

  Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000) (internal quotations omitted).



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          Federal Rule of Civil Procedure 37 permits sanctions where a party “fail[s] to make

  disclosures or cooperate in discovery.” Fed. R. Civ. P. 37. Specifically, with regard to discovery,

  only where a party “fails to obey an order or permit discovery . . . may [the court] issue further just

  orders” in the form of sanctions. Id.

          “A party who has made a disclosure . . . or who has responded to an interrogatory, request

  for production, or request for admission [] must supplement or correct its response . . . in a timely

  manner” when a party learns of additional information that in some material respect makes the

  response incomplete or incorrect. Fed. R. Civ. P. 26(e)(1). In furtherance of a party’s obligation to

  supplement its discovery responses under Fed. R. Civ. P. 26(e), where “a party fails to provide

  information” or “fails to admit what is requested” and that fact later proves a document to be genuine

  or a matter to be true, only then may the Court consider sanctions. Fed. R. Civ. P. 37(c).

                                              ARGUMENT

          Defendants have complied with this Court’s July 22, 2020 and November 13, 2020 orders,

  fully responding to Plaintiffs’ interrogatories and requests for admission and producing 179,417

  documents totaling 915,763 pages. Defendants served their discovery responses on Plaintiffs on or

  around November 24, 2020, and produced to Plaintiffs the lion’s share of responsive documents that

  day. Following their initial production, when Defendants received additional tranches and/or

  repositories of documents from vendors, the FBI, and documents created as part of Defendants’

  normal course of business, Defendants supplemented their responses to Plaintiffs, producing

  approximately 70,000 additional documents in accordance with their obligations to this Court and

  under the Federal Rules of Civil Procedure. Defendants are hyper-aware of their discovery

  obligations and have meticulously complied with them, producing all known, non-privileged

  responsive documents. Still, Plaintiffs are not satisfied.



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         Plaintiffs’ complaints concerning Defendants’ responses are all over the board – they got too

  many documents; they did not receive the right documents; Plaintiffs pushed for more documents

  and now identify subsequent supplemental productions as “untimely;” and the documents “prove”

  their allegations (they do not), but somehow fail in substance, among others. Plaintiffs want to have

  their cake and eat it, too. They ask this Court to sanction Defendants for producing too many

  documents, yet at the same time, ask this Court to compel the production of more documents. They

  received documents they believe support their contentions, but ask that Defendants be precluded

  from defending their own position because they were “evasive.” Indeed, rather than litigate the case

  on the merits, Plaintiffs continue their efforts to try to win this case by creating a war out of

  preliminary discovery. Defendants have complied with this Court’s orders and Plaintiffs have failed

  to show they have been injured.

  A.     Defendants acted in good faith.

         Defendants have, in good faith, produced all known, non-privileged responsive documents

  to Plaintiffs. Defendants have supplemented, and will continue to supplement, their responses to

  interrogatories, requests for admission, and their document productions as Defendants learn of new

  information. In order to impose sanctions on Defendants, the Court must find that Defendants

  (i) acted in bad faith, (ii) Plaintiffs were prejudiced, (iii) the record demonstrates a need for

  deterrence of the particular non-compliance at issue, and (iv) the record shows that less drastic

  sanctions would not be appropriate. Anderson v. Found. for Advancement, Educ, & Emp’t of Am.

  Indians, 155 F.3d 500, 504 (4th Cir. 1998). The record, described in detail above, shows Defendants

  succeed on every element.

         Plaintiffs, in blanket statements, accuse Defendants of “deliberately with[holding]

  responsive information about transaction proceeds and asset dispositions . . . and used false



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  assurances and filler material to obstruct enforcement action on these violations,” making “belated

  productions” and “indefensible privilege claims,” and blaming vendors and the FBI for supplemental

  productions. Mot. at 16–17.

          To the contrary, Defendants have produced all responsive, non-privileged documents in their

  possession, custody, or control to Plaintiffs (as Plaintiffs themselves have repeatedly insisted upon).

  Defendants have supplemented their discovery responses, including their responses to

  interrogatories, and will continue to do so in compliance with their ongoing obligations pursuant to

  the Federal Rules of Civil Procedure and to address legitimate concerns raised by Plaintiffs.

  Defendants have not withheld any information to which Plaintiffs are entitled. If Plaintiffs did not

  receive certain information, it is because the information does not exist or is not within Defendants’

  possession, custody, or control. Defendants, in accordance with this Court’s orders, produced all

  known documents in their immediate possession, custody, or control on or around November 24,

  2020.

          Following this Court’s November 13, 2020 order compelling discovery responses,

  Defendants contacted the third-party vendor responsible for maintaining Northstar’s archived emails

  and documents in an attempt to locate any additional relevant documents, and in an effort to meet

  the Court’s deadline. See S. Garnett Decl. ¶ 5. Due to timing with the vendor, however, Defendants

  did not receive the documents until November 24, 2020. Id. ¶¶ 6, 8. Upon receipt, Defendants

  immediately processed the data, ran keyword searches based on Plaintiffs’ requests, and produced

  additional responsive documents, without prompting by Plaintiffs, on or around December 10, 2020.

  Id. ¶ 9. These actions comply with Defendants’ ongoing duty to supplement their discovery

  responses under Federal Rule of Civil Procedure 26(e).




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         Similarly, when the FBI and U.S. Attorney’s Office released Mr. Watson’s cell phone and

  laptops to Defendants’ counsel’s custody in February 2021, having seized them ten months prior in

  April 2020, Defendants immediately sent the devices to a third party vendor for forensic imaging

  and data extraction and notified Plaintiffs of their receipt. Id. ¶ 14. When the vendor notified

  Defendants that the devices were encrypted and Mr. Watson could not remember the passwords to

  unlock the devices, Defendants reached out to the U.S. Attorney to ask him for the passwords Mr.

  Watson gave the FBI at the time the devices were seized. Id. ¶ 15. Even then, two of the passwords

  had expired or were ineffective and Defendants had to work with another vendor to access at least

  one of the encrypted devices. Id. ¶ 16. Defendants produced responsive documents to Plaintiffs as

  soon as all relevant data was extracted. Id. ¶¶ 17, 18; A. Schneider Decl. ¶ 5. As evidence of

  Defendants’ continued good faith, Plaintiffs, after working with Defendants, did not raise in their

  Motion several technical issues they once complained vociferously about concerning this production.

  A. Schneider Decl. ¶ 6. Defendants have been hyper-vigilant in their responses to Plaintiffs.

  Defendants’ supplemental productions were not made in bad faith, but rather exemplify their good

  faith compliance with Federal Rule of Civil Procedure 26(e) and desire to provide Plaintiffs with the

  information to which they are entitled.

         Further, in compliance with the language of Plaintiffs’ discovery requests and this Court’s

  orders, Defendants ran search terms identified in Plaintiffs’ requests and produced all non-privileged

  documents responsive to such requests. To the extent any documents produced included “filler

  material,” it is due to Defendants’ strict compliance with Plaintiffs’ requests.

         1.      Defendants withheld privileged documents in good faith.

         The parties seem to be at an impasse as to their interpretation of the Court’s oral ruling on

  November 13, 2020. Plaintiffs assert Defendants are no longer entitled to privilege objections based



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  on certain representations made by the Court during the hearing. However, at the conclusion of the

  hearing, the Court stated: “If anything is the subject of a privilege log as to attorney-client privilege

  or work product, I’ll have to look at that separately.” At the time, Defendants had only withheld or

  redacted four documents on the basis of privilege. The Court, overruling most of Defendants’

  objections, clearly sustained Defendants’ right to assert attorney-client and attorney work product

  privilege and certainly did not foreclose Defendants from asserting such privileges on documents

  that were not previously identified as responsive or supplemental productions of future-discovered

  documents. When Defendants withheld the production of approximately 6,300 documents on the

  basis of attorney-client or attorney work product privilege, they did so in good faith and provided

  Plaintiffs a privilege log. Through the normal meet and confer process, Defendants amended their

  log and produced to Plaintiffs additional documents mistakenly marked as privileged during their

  initial review.

          Defendants have complied in good faith with Plaintiffs’ discovery requests and this Court’s

  orders. Defendants have produced all non-privileged responsive documents in their possession,

  custody, and control. And, for months, Defendants have supplemented their responses to Plaintiffs

  requests as new information became available, and will continue to do so pursuant to the Federal

  Rules of Civil Procedure. Defendants have responded in full to Plaintiffs’ requests.

  B.      Defendants have failed to show prejudice.

          This case is in its infancy. It is not yet at issue and the parties have not exchanged initial

  disclosures. Plaintiffs cannot show prejudice at this stage. The Court ordered the extraordinary

  remedy of one-sided preliminary discovery limited to Defendants’ ability to comply with the

  preliminary injunction, and Defendants have fully complied.




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         Defendants produced to Plaintiffs 113,547 documents totaling over 454,000 pages on or

  around November 24, 2021. See S. Garnett Decl. ¶ 7. As Defendants learned of additional

  repositories of documents that may contain additional responsive documents, Defendants

  immediately requested access to such repositories, processed the data, and produced additional

  responsive documents to Plaintiffs. This does not constitute an intentional or evasive “failure to

  produce documents . . . or producing them months [late],” Mot. at 17 (internal quotation marks

  omitted), but rather Defendants’ ongoing compliance with their obligations under Federal Rule of

  Civil Procedure 26(e). Indeed, Defendants have painstakingly responded to each of Plaintiffs’

  requests, including responses to interrogatories and requests for admission, as well as the production

  of supporting documentation, addressing, among other things, their inability to comply with the

  Court’s injunction. Plaintiffs have a wealth of Defendants’ information in their hands, they simply

  do not like what they received. Just because Plaintiffs disagree with Defendants’ responses and chose

  to engage in a one-sided letter writing campaign does not mean Plaintiffs have been prejudiced.

  Defendants have responded to each of Plaintiffs’ requests in detail.

         Having had complete discovery, Plaintiffs cannot show prejudice. Moreover, the discovery

  ordered by the Court was limited to compliance with the preliminary injunction. Plaintiffs have

  sought to take advantage of the Court’s order by engaging in broad ranging discovery concerning

  every aspect of Defendants’ business and their dealings with Amazon. But case in chief discovery

  has not even commenced. To the extent Amazon has any need for additional discovery, it certainly

  can obtain it through the normal discovery process, as can all of the parties.

  C.     There is no behavior to deter.

         Defendants fail to see how their strict compliance with this Court’s orders and their ongoing

  obligation to supplement discovery responses pursuant to the Federal Rules of Civil Procedure



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  constitutes behavior worthy of deterrence. Again, Defendants produced their responses to Plaintiffs’

  requests for discovery on or around November 24, 2020, in compliance with this Court’s orders. See

  S. Garnett Decl. ¶ 7. Defendants continued to supplement their responses to Plaintiffs’ requests upon

  learning of additional potentially relevant documents. Id. ¶ 19. When Plaintiffs raised issues with

  Defendants’ interrogatory response concerning the disposition of certain assets unrelated to the

  Amazon transactions, Defendants supplemented their response to that interrogatory and have

  continued to produce supplemental documents related to each disposition as they become available.

  Id. Defendants take their obligations to this Court seriously and have gone to great lengths to ensure

  they comply with its orders. There is no behavior to deter.

  D.       No sanctions are appropriate.

           For the reasons stated above, sanctions are not appropriate in this case, where Defendants

  have complied with this Court’s orders by responding to Plaintiffs’ requests for discovery, and

  supplemented their responses, as necessary, pursuant to Federal Rule of Civil Procedure 26(e).

  Indeed, civil contempt is a “severe remedy.” Taggart, 139 S. Ct. at 1802. Civil contempt is “improper

  [where] a party’s attempt at compliance [is] reasonable.” Id.; accord Chesapeake Bank, 2014 WL

  5500872 at *3 (“A good faith attempt to comply, even if such attempt proves ineffective, is a defense

  to a civil contempt order.”). Indeed, “civil contempt should not be resorted to where there is [a] fair

  ground of doubt as to the wrongfulness of the defendant’s conduct.” Id.

           Plaintiffs ask this Court for severe sanctions, including (i) foreclosure of Defendants’

  affirmative defenses to the permanent injunction; (ii) preclusion of Defendants’ reliance on

  information they allegedly “failed to produce, or produced very late,” 1 Mot. at 21 (internal quotations



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    Specifically, Defendants believe the Court should preclude Defendants from relying on any evidence contradicting
  the following alleged facts: (i) Defendants received at least $21.25 million in proceeds from the Amazon
  transactions in suit; (ii) Defendants pose a substantial risk of asset dissipation; and (iii) Defendants are able to post

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  omitted); (iii) overruling Defendants’ privilege claims and ordering the immediate production of

  privileged documents; and (iv) ordering a third-party forensic examination of Mr. Watson’s

  electronic devices and email accounts and appointing a special master to oversee Defendants’

  discovery responses, at Defendants’ cost. Defendants have provided thorough, meticulous responses

  to Plaintiffs’ requests for discovery in good faith and in compliance with this Court’s orders. Further,

  as part of Defendants’ ongoing obligation to supplement their discovery responses pursuant to the

  Federal Rules of Civil Procedure, Defendants continue to supplement their responses as new

  information becomes available. Defendants have provided Plaintiffs with a wealth of information,

  including tens of thousands of emails and copies of Defendants’ books and records, all related to

  their inability to comply with the preliminary injunction. Defendants’ position concerning their

  inability to comply has not changed—they cannot afford it—and their responses support it. Other

  than simply disagreeing with Defendants’ responses, Plaintiffs have failed to identify how

  Defendants’ responses have failed to substantively and substantially comply with this Court’s orders

  and the Federal Rules of Civil Procedure. Plaintiffs’ request for sanctions is not appropriate.




  judgment security. They ask for these rulings not because Defendants have withheld evidence on these issues, but
  because the evidence does not support their preferred outcome.

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                                          CONCLUSION

         For the reasons above, Defendants respectfully request that the Court deny the relief

  requested in Plaintiffs’ Motion.

  Dated: June 18, 2021                            By: /s/ Jeffrey R. Hamlin
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                                                       LLC and Brian Watson




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                                 CERTIFICATE OF SERVICE

          I hereby certify that on June 18, 2021, I will cause a true and correct copy of the
   foregoing document to be served by U.S. mail to the following party who is appearing in this
   case pro se:


                Casey Kirschner
                635 Alvarado Ln N
                Plymouth, MN 55447


                                                 By: /s/ Jeffrey R. Hamlin
                                                    Jeffrey R. Hamlin (VSB 46932)




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